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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

AKOLOUTHEO, LLC,

     Plaintiff,                                                CIVIL ACTION NO.: 4:19-cv-818
     v.
                                                               JURY TRIAL DEMANDED
TYLER TECHNOLOGIES, INC.,

    Defendant.


                         COMPLAINT FOR PATENT INFRINGEMENT

         1.       This is an action under the patent laws of the United States, Title 35 of the United
States Code, for patent infringement in which Akoloutheo, LLC (“Akoloutheo” or “Plaintiff”),
makes the following allegations against Tyler Technologies, Inc. (“Tyler” or “Defendant”).

                                              PARTIES

         2.       Akoloutheo is a Texas limited liability company, having its primary office at
15139 Woodbluff Dr., Frisco, Texas 75035. Plaintiff’s owner and sole operator is Rochelle T.
Burns.

         3.       Tyler is a Delaware corporation with its principal place of business at 5101
Tennyson Parkway, Plano, TX 75024. Defendant’s Registered Agent for service of process in
Texas appears to be Capitol Corporation Services, Inc., 206 E. 9th Street, Suite 1300, Austin, TX
78701.

                                   JURISDICTION AND VENUE

         4.       This action arises under the patent laws of the United States, Title 35 of the
United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1338(a).

         5.       Venue is proper in this district under 28 U.S.C. §§ 1391(c), generally, and under
1400(b), specifically. Defendant has a regular and established place of business in this Judicial
District, and Defendant has also committed acts of patent infringement in this Judicial District.



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        6.      Defendant is subject to this Court’s specific and general personal jurisdiction
pursuant to due process and/or the Texas Long Arm Statute, due at least to its substantial
business in this forum, including: (i) at least a portion of the infringements alleged herein; and
(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or
deriving substantial revenue from goods and services provided to individuals in Texas and in this
Judicial District.

        7.      Defendant has established offices – specifically, its corporate headquarters –
located within the Eastern District of Texas, in Plano, Texas.




                                                [2]
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       8.      Defendant has infringed, and does infringe, by transacting and conducting
business within the Eastern District of Texas. Upon information and belief, operations at
Defendant’s Plano location include sales, marketing, business development, and/or product
support for Defendant’s infringing instrumentalities.

       9.      Defendant’s office in Plano, Texas is a regular and established place of business
in this Judicial District, and Defendant has committed acts of infringement (as described in
detail, hereinafter) at the Defendant’s office within this District. Venue is therefore proper in this
District under 28 U.S.C. § 1400(b).

                                   COUNT I
                     INFRINGEMENT OF U.S. PATENT NO. 7,426,730

       10.     Plaintiff is the owner by assignment of the valid and enforceable United States
Patent No. 7,426,730 (“the ‘730 Patent”) entitled “Method and System for Generalized and
Adaptive Transaction Processing Between Uniform Information Services and Applications” –
including all rights to recover for past, present and future acts of infringement. The ‘730 Patent
issued on September 16, 2008, and has a priority date of April 19, 2001. A true and correct copy
of the ‘730 Patent is attached as Exhibit A.

       11.     Defendant directly – through intermediaries including distributors, partners,
contractors, employees, divisions, branches, subsidiaries, or parents – made, had made, used,
operated, imported, provided, supplied, distributed, offered for sale, sold, and/or provided access
to software systems, cloud-based software, and/or software as a service (SaaS) (collectively,
“software”) for organizing, storing, searching and retrieving data and documents across multiple
networked resources – including, but not limited to, Tyler’s dataXchange and Tyler Content
Manager software systems (“Tyler Software”).

       12.     The Tyler Software is the infringing instrumentality.

       13.     Tyler Software is server-based, operatively couples to a plurality of networked
systems and resources, and accesses and retrieves data from across those networked systems.




                                                 [3]
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      14.    Tyler Software operates utilizing web-browser access:




      15.    Tyler Software provides query-based access to data and documents from the
networked systems.




                                            [4]
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        16.     Tyler Software processes a user query and retrieves data from a plurality of
networked data sources.




        17.     Tyler Software utilizes and/or maintains a registry of data resources.




        18.     Tyler Software dynamically processes user transaction requests (queries),
selecting information resources and performing operations on those resources to provide a
resultant resource or result to the user.




                                                 [5]
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       19.     Tyler Software thus generates and processes transaction requests for access to
particular network resources.

       20.     Tyler Software processes transaction requests, selects one or more responsive
resources, and delivers access to a responsive resource through a user interface.

       21.     Plaintiff herein restates and incorporates by reference paragraphs 11 – 20, above.

       22.     All recited elements of – at least – claims 1, 15, and 17 of the ‘730 Patent are
present within Tyler Software .

       23.     Tyler Software comprises a networked computer system that provides a resultant
resource according to a transaction request.

       24.     Tyler Software comprises transaction processing module(s).

       25.     Tyler Software comprises a plurality of networked resources communicatively
coupled to provide specific data responsive to a transaction processed by Tyler Software.

       26.     Tyler Software maintains registries of networked data resources and data
characteristics for use in responding to transactions requests.

       27.     Tyler Software processes a transaction request utilizing contextual elements
related to the request and/or the user entering the request.

       28.     Tyler Software selects one or more data resources, and performs one or more
operations on those data resources to satisfy the transaction request.

       29.     Tyler Software generates a resultant data resource responsive to the transaction
request, and delivers that resultant data resource to the user via a user interface.

       30.     Tyler Software infringes – at least – claims 1, 15, and 17 of the ‘730 Patent.

       31.     Tyler Software literally and directly infringes – at least – claims 1, 15, and 17 of
the ‘730 Patent.

       32.     Tyler Software performs or comprises all required elements of – at least – claims
1, 15, and 17 of the ‘730 Patent.

       33.     In the alternative, Tyler Software infringes – at least – claims 1, 15, and 17 of the
‘730 Patent under the doctrine of equivalents. Tyler Software performs substantially the same


                                                  [6]
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functions in substantially the same manner with substantially the same structures, obtaining
substantially the same results, as the required elements of – at least – claims 1, 15, and 17 of the
‘730 Patent. Any differences between the Tyler Software and the claims of the ‘730 Patent are
insubstantial.

       34.       All recited elements of – at least – claims 1, 15, and 17 of the ‘730 Patent are
present within, or performed by, Tyler Software and are therefore attributable to Tyler.

       35.       Tyler Software, when used and/or operated in its intended manner or as designed,
infringes – at least – claims 1, 15, and 17 of the ‘730 Patent, and Tyler is therefore liable for
infringement of the ‘730 Patent.

                                   DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
any issues so triable by right.
                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter:
       a.        A judgment in favor of Plaintiff that Defendant has infringed the ‘730 Patent;
       b.        A permanent injunction enjoining Defendant and its officers, directors, agents,
servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in
active concert therewith, from infringement of the ‘730 Patent;
       c.        A judgment and order requiring Defendant to pay Plaintiff its damages, costs,
expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of the ‘730
Patent as provided under 35 U.S.C. § 284;
       d.        An award to Plaintiff for enhanced damages resulting from the knowing and
deliberate nature of Defendant’s prohibited conduct with notice being made at least as early as
the service date of this complaint, as provided under 35 U.S.C. § 284;
       e.        A judgment and order finding that this is an exceptional case within the meaning
of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees; and
       f.        Any and all other relief to which Plaintiff may show itself to be entitled.




                                                  [7]
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November 11, 2019                   Respectfully Submitted,
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                                     [8]
